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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CRIMINAL CASE NO.: 9:22-mj-08332-BER-1

  UNITED STATES OF AMERICA,

           Plaintiff,

  v.

  SEALED SEARCH WARRANT,

        Defendant.
  _________________________________/

                       ORDER GRANTING MOTION TO APPEAR
              PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
             ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

           THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for
  Paul J. Orfanedes, Esquire Consent to Designation, and Request to Electronically Receive Notices
  of Electronic Filing (the “Motion”), pursuant to the Rules Governing the Admission, Practice, Peer
  Review, and Discipline of Attorneys in the United States District Court for the Southern District of
  Florida and Section 2B of the CM/ECF Administrative Procedures. This Court having considered
  the motion and all other relevant factors, it is hereby
           ORDERED AND ADJUDGED that:
           The Motion is GRANTED. Paul J. Orfanedes, Esquire may appear and participate in this
  action on behalf of Movant Judicial Watch, Inc. The Clerk shall provide electronic notification of
  all electronic filings to Paul J. Orfanedes, Esquire, at porfanedes@judicialwatch.org.
           DONE AND ORDERED in Chambers at                                                 , Florida, this
  day of                                      .

                                                              United States District Judge


  Copies furnished to: All Counsel of Record
